            Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 1 of 22
                                                                                           FILED
                                                                                         U.S. DISTRICT COURT
                                                                                     EASTERN Dl:HRICT ARKANSAS


                       IN THE UNITED STATES DISTRICT COURT        OCT 13 2017
                           EASTERN DISTRICT OF ARKANSAS
                                                          ~A~E~ dl?CORMACK, CLERK
                                WESTERN DIVISION
                                                                             y                          DEP CLERK

JESSICA HILL                                                                            PLAINTIFF

vs.                                   No.   Jf :/7-cv- 66 '6 - J L(f
                                                   This case assigned to District Judge       flo/me.s
ARKANSAS CHILDREN'S HOSPITAL                       and to Magistrate Judge__.....&_,
                                                                                  _ _ _ _ _ __
and RACHEL CLINGENPEEL, MD,
individually and in her official capacity                                        DEFENDANTS


                                   NOTICE OF REMOVAL

       Defendant, Arkansas Children's Hospital, (hereinafter "ACH"), through counsel,

Mitchell, Williams, Selig, Gates & Woodyard, P.L.L.C., hereby give notice of the removal of the

civil action captioned Jessica Hill vs. Arkansas Children's Hospital and Rachel Clingenpeel MD,

from the Circuit Court of Pulaski County, State of Arkansas to the United States District Court

for the Eastern District of Arkansas, Western Division.        ACH files this notice of removal

pursuant to 28 U.S.C. § 1441, et seq. As grounds for removal, ACH states as follows:

       1.      On October 10, 2017, Plaintiff initiated this action by filing a Complaint in the

Circuit Court of Pulaski County, Arkansas (the "State Court"). Pursuant to 28 U.S.C. § 1446(a),

a complete copy of the State Court file in this action is attached as "Exhibit A."

       2.      On or about October 12, 2017, ACH was served with the Complaint.

       3.      Dr. Rachel Clingenpeel has not yet been served, and therefore her consent is not

necessary for the notice of removal. Peterman v. Tinsley, No. 3:07-CV-47, 2007 WL 1589549,

at n. 2 (E.D. Ark. 2007).

       4.      No further proceedings have occurred in the State Court action.
               Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 2 of 22



       5.        Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely filed within

thirty (30) days of service of the Complaint.

       6.        Pursuant to 28 U.S.C. § 1446(d), notice shall be given to the clerk of the Circuit

Court of Pulaski County, Arkansas, and to the adverse party.

       7.        This action is removable pursuant to the provisions of 28 U.S.C. § 1441(a) in that

this is a civil action invoking a federal question brought pursuant to 42 U.S.C. § 1983, in which

jurisdiction is proper in this Court under 28 U.S.C. § 1331.

       8.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and 42 U.S.C. §

2000(e)-5.

       9.        The undersigned states that this removal is well grounded in fact and is warranted

by existing law, and is not interposed for improper purpose.

        I 0.     Defendant ACH reserves the right to amend or supplement this Notice of

Removal.

        WHEREFORE, Defendant Arkansas Children's Hospital respectfully removes this action

from the Circuit Court of Pulaski County to the United States District Court for the Eastern

District of Arkansas, Western Division, pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1441.




                                                  2
          Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 3 of 22



                                          Respectfully submitted,

                                          MITCHELL, WILLIAMS, SELIG,
                                          GATES & WOODYARD, P.L.L.C.
                                          425 West Capitol Avenue, Suite 1800
                                          Little Rock, Arkansas 72201-3525
                                          (501) 688-8896 phone
                                          (501) 918-7896 fax
                                          jduke@mwlaw.com




                              CERTIFICATE OF SERVICE

      I, Jane W. Duke, do her~b~lertify that I forwarded a copy of the foregoing to the below
named person via email on this~day of October, 2017.

       Luther Oneal Sutter
       SUTTER & GILLHAM, P.L.L.C.
       P.O. Box 2012
       Benton, AR 72018
       luthersutter@yahoo.com




                                             3
               Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 4 of 22


                      IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                          HON. ALICE S. GRAY -12TH DIVISION 6TH CIRCUIT

                      JESSICA HILL V ARKANSAS CHILDREN'S HOSPITAL ET AL

                                             60CV-17-5716

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

ARKANSAS CHILDREN'S HOSPITAL
AFS Rhonda B McKinnis
1 Children's Way
Slot 656
Little Rock, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attorney, whose name and
address are:

Luther Oneal Sutter, II
310 W. Conway
Benton, AR 72015

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

LARRY CRANE, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                                     DLJOHNSON Deborah Johnson, DC
LITTLE ROCK, AR 72201
                                                     Date: 10/11/2017                           EXHIBIT
               Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 5 of 22


No. 60CV-17-5716 This summons is for ARKANSAS CHILDREN'S HOSPITAL (name of Defendant).



                                           PROOF OF SERVICE

O I personally delivered the summons and complaint to the individual at
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[place] on _ _ _ _ _ _ _ [date];
or

O I left the summons and complaint in the proximity of the individual by
                                  after he/she refused to receive it when I offered it to him/her; or
------------
O I left the summons and complaint at the individual's dwelling house or usual place of abode at
_ _ _ _ _ _ _ _ _[address] with                                      [name], a person at least 14
years of age who resides there, on                      [date]; or

O I delivered the summons and complaint to                       [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of
_ _ _ _ _ _ _ _ _ _ _,[name of defendant] on                                   [date]; or

o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

o Other [specify]:

O I was unable to execute service because:




My fee is $ __ .

To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -                SHERIFF OF _ _ _ COUNTY, ARKANSAS

                                 By:~~~~~~~~~~~~
                                 [Signature of server]
              Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 6 of 22



                               [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -              By: _ _ _ _ _ _ _ _ _ _ _~
                               [Signature of server]



                               [Printed name]

Address:
           -------------------------~




Phone:
         -----------~



Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires:
                         -------~



Additional information regarding service or attempted service:
               Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 7 of 22


                      IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                          HON. ALICE S. GRAY-12TH DIVISION 6TH CIRCUIT

                      JESSICA HILL V ARKANSAS CHILDREN'S HOSPITAL ET AL

                                             60CV-17-5716

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

RACHEL CLINGENPEEL MD, INDIVIDUALLY
POE Pediatrics
1 Childrens Way
Little Rock, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Luther Oneal Sutter, II
310 W. Conway
Benton, AR 72015

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

LARRY CRANE, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM                                       DLJOHNSON Deborah Johnson, DC
LITTLE ROCK, AR 72201
                                                     Date: 10/11 /2017
               Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 8 of 22


No. 60CV-17-5716 This summons is for RACHEL CLINGENPEEL MD, INDIVIDUALLY (name of
Defendant).



                                          PROOF OF SERVICE

D I personally delivered the summons and complaint to the individual at
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[place] on _ _ _ _ _ _ _ _ [date];
or

D I left the summons and complaint in the proximity of the individual by
_ _ _ _ _ _ _ _ _ _ _ _ _ after he/she refused to receive it when I offered it to him/her; or

D I left the summons and complaint at the individual's dwelling house or usual place of abode at
_ _ _ _ _ _ _ _ _[address] with                                      [name], a person at least 14
years of age who resides there, on                      [date]; or

D I delivered the summons and complaint to                       [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of
_ _ _ _ _ _ _ _ _ _ _[,name of defendant] on                                   [date]; or

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



D I was unable to execute service because:




My fee is $ __ .

To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -               SHERIFF OF _ _ _ COUNTY, ARKANSAS

                                By: _ _ _ _ _ _ _ _ _ _ _ __
                                [Signature of server]
              Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 9 of 22




                               [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: _ _ _ _ __               By: _ _ _ _ _ _ _ _ _ _ _~
                               [Signature of server]



                               [Printed name]

Address:
           -------------------------~




Phone:
         -----------~



Subscribed and sworn to before me this date:
                                                ------

                               Notary Public

My commission e x p i r e s : - - - - - - - -

Additional information regarding service or attempted service:
              Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 10 of 22


                      IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                          HON. ALICE S. GRAY-12TH DIVISION 6TH CIRCUIT

                      JESSICA HILL V ARKANSAS CHILDREN'S HOSPITAL ET AL

                                             60CV-17-5716

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

RACHEL CLINGENPEEL MD, OFFICIAL CAPACITY
POE Pediatrics
1 Childrens Way
Little Rock, AR 72202

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Luther Oneal Sutter, II
310 W. Conway
Benton, AR 72015

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:



                                                     CLERK OF COURT
Address of Clerks Office

LARRY CRANE, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                                     DLJOHNSON Deborah Johnson, DC
UTILE ROCK, AR 72201
                                                     Date: 10/11/2017
              Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 11 of 22


No. 60CV-17-5716 This summons is for RACHEL CLINGENPEEL MD, OFFICIAL CAPACITY (name
of Defendant).



                                          PROOF OF SERVICE

O I personally delivered the summons and complaint to the individual at
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[place] on _ _ _ _ _ _ _ [date];
or

o I left the summons and complaint in the proximity of the individual by
                                     after he/she refused to receive it when I offered it to him/her; or
-----------~



o I left the summons and complaint at the individual's dwelling house or usual place of abode at
_ _ _ _ _ _ _ _ _[address] with                                      [name], a person at least 14
years of age who resides there, on                      [date]; or

O I delivered the summons and complaint to                       [name of individual], an agent
authorized by appointment or by law to receive service of summons on behalf of
_ _ _ _ _ _ _ _ _ _ _[name of defendant] on                                    [date]; or

O I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

O Other [specify]:



O I was unable to execute service because:




My fee is $ __ .

To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -               SHERIFF OF _ _ _ COUNTY, ARKANSAS

                                By: _ _ _ _ _ _ _ _ _ _ _            ~


                                [Signature of server]
             Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 12 of 22




                              [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -              By: ___________                   ~


                               [Signature of server]



                              [Printed name]

Address:
           -------------------------~




Phone:
         -----------~



Subscribed and sworn to before me this date: - - - - - -



                              Notary Public

My commission expires: _ _ _ _ _ _ __

Additional information regarding service or attempted service:
      Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 13 of 22
                                                                                  ELECTRONICALLY FILED
                                                                                      Pulaski County Circuit Court
                                                                                    Larry Crane, Circuit/County Clerk
                                                                                    2017-0ct-10 17:05:47
                                                                                       60CV-17-5716
                                                                                     C06D12: 10 Pages
                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS

JESSICA HILL
                                                                                           PLAINTIFFS

vs.                                       CASE NO:~~~~~-
ARKANSAS CHILDREN'S
HOSPITAL and RACHEL
CLINGENPEEL MD, individually
                                                                                          DEFENDANT
and in her official capacity.



                                           COMPLAINT


       COMES PLAINTIFF, by and through Counsel and for this Complaint states:

                                 PARTIES AND JURISDICTION

       1.      Jessica Hill is a resident and citizen of the State of Arkansas, whose children

were seized by Arkansas Children's Hospital, in Pulaski County, Arkansas in 2015. Arkansas

Children's Hospital is a private entity acting as the county hospital for Pulaski County, Arkansas

who acted under the authority granted it by Title 18 of Ark. Code Ann.§ 12-18-101 et seq. cited

as "The Arkansas Child Maltreatment Act". and is sued for its Due Process violations, as

allowed by 42 USC 1983 and the ACRA. Defendant Dr. Rachel Clingenpeel MD. submitted the

false Affidavit attached as Exhibit "A." Plaintiff also sues for Declaratory Judgment. Accordingly,

this Court has subject matter jurisdiction. Venue is proper, since the acts giving rise to this

action arose in Pulaski County, Arkansas. All actions were taken under color of state law.

                             GENERAL ALLEGATIONS OF FACTS

       2.      Plaintiff has three (3) children and is a fit mother.

       3.      Plaintiff presented in labor without spontaneous rupture of membranes at full

term on 6/10/15.

       4.      Plaintiff had one previous birth by C-section and Plaintiff elected to have repeat

C-section.




                                            Page 1 of 10
      Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 14 of 22




       5.         Plaintiff delivered an apparently healthy 7 lb 6 oz girl

       6.         Plaintiff was prescribed Oxycodone with acetaminophen (Percoset) for post-

operative pain.

       7.         Plaintiff was discharged and filled a prescription for Oxycodone on 6/12/15.

       8.         Maddison's discharge summary says the mother plans to breast feed.

       9.         Plaintiff had gallbladder surgery and fill another prescription for Oxycodone on

7/31/15.

       10.        The pediatrician's office records show three visits by Maddison Childress, 7 days,

7 weeks, are 9 weeks after birth. The records reflect:

                  a. At 7 days, it says the mother is breast feeding

                  b. At 7 weeks, Plaintiff's baby is spitting up and they have added soy formula

                  c. At 9 weeks, two days before Plaintiff went to the emergency room, so was

                      vomiting, waking up in the middle of the night and was fussy

                  a. The results of a hair drug test on Maddison Childress done on August 18, 4

                      days after Plaintiff went to the hospital reflect drug exposure both before birth,

                      and since including from breast milk.

                  b. The test was positive for cannabinoid because there was a history of smoking

                      marijuana until Plaintiff knew she was pregnant, at which time she stopped ..

       11. Further, medication records from her hospital stays for the birth and the gallbladder

             surgery show that Plaintiff was given oxycodone after her C-section and

             hydrocodone after her gallbladder surgery.

       12. Results from the hair test show with regard to exposure to opioids that Plaintiff's

             baby was exposed to oxycodone and hydrocodone but the level of hydrocodone is




                                               Page 2of10
Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 15 of 22




   20 time less than oxycodone. Which may be consistent with her being exposed by

   her mother's breast milk, or a false +by possible bleed over from the oxy.

13. The consult notes of Dr. Clingenpeel that Plaintiff wrote after the drug test results

   were known. "The hair test results demonstrate that Maddison has been in a drug-

   exposed environment, which in addition to her recent abusive head injury is another

   source of concern for her safety, as children in drug-endangered environments are at

   risk for multiple forms of child maltreatment."

14. Exposure to oxycodone and hydrocodone was as prescribe by Jessica Hill's doctors

   and does not reflect an illicit use or have any harmful effect on her daughter,

   Maddison. Dr. Clingenpeel would have known as much if Plaintiff had reviewed

   Jessica Hills medical records, or taken a competent history.

       a. The use of marijuana is less dangerous than smoking tobacco. Women who

           smoke cigarettes while pregnant are at risk for having low birth weight babies.

           Those who smoke marijuana are not.

       b. In her second note, Dr. Clingenpeel states "It is noted that no history of

           breastfeeding was provided during the dietary history obtained during

           Maddison's recent hospitalization", which again reflects Dr. Clingenpeel not

           properly reviewing the medical records.

       c. The second note also states "If the medications were directly administered to

           Maddison, that would be a highly dangerous and potentially fatal source of

           exposure. If Maddison's positive hair test for opiates was a result of prenatal

           or postnatal maternal use of these drugs, unless mother had a valid

           prescription for these medications, her use of them would be consistent with




                                    Page 3of10
Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 16 of 22




           maternal substance abuse, which would place Maddison at risk as previously

           described."

       d. Dr. Clingenpeel intentionally tried to put these tests in the worst possible light.

           There is no other reasonable explanation for failing to take a competent

           history or failing to review readily available and relevant medical records

           while investigating suspected abuse. Jessica Hill followed her doctor's orders

           and took these pain medications as prescribed and as directed, yet this

           evidence is wholly ignored by the investigating doctors of the Child at Risk

           Team and in the place of evidence is a description of abusive behavior that is

           contrary to Plaintiff's behaviors which were proven conclusively by readily

           available evidence contained in Plaintiff's medical records ..

15. ACH submitted the form for reporting suspected child abuse supported by two EEG

   reports, and a neurology consult note.

16. The records reflect:

       a. while attempting to place a PIV [peripheral IV] nurse notice seizure like

           activity, as Plaintiff's baby developed a fixed gaze and began twitching, did

           not respond to pain. This episode lasted around 60 seconds and resolved

           spontaneously;

       b. About 45 minutes later Plaintiff's baby began seizing again, as her left arm

           and leg began twitching with fixed gaze. This episode was witnessed by Dr.

           Willis. This episode lasted about 12 minutes and resolved with Ativan;

       c. Two long term EEG examinations, one lasting 24 hours another lasting 8

           hours, showed no evidence of a seizure.




                                    Page 4of10
Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 17 of 22




       d. Plaintiff's baby was given anti-seizure medications, which were weaned after

          4-6 weeks but never had another episode.

       e. Plaintiff's baby probably had a seizure but it was not confirmed. Plaintiff's

          baby never had another one.

17. Defendant caused Plaintiff's children to be taken on 8-15-15 without any basis in

   fact or law.   Maddison was not abused in any way, and there was no clinical

   evidence supporting abuse from shaking her. However, Defendant submitted the

   Affidavit attached as Exhibit "A."

18. Defendant Rachel Clingenpeel MD. Knowingly submitted a false Affidavit is false in

   the following respects:

       a. The "Retinal Hemorrhages" were never diagnosed by the ophthalmology

           department, (as is stated by Clingenpeel) but rather by a resident, whose

           diagnosis upon review by the actual attending physician were deemed not

           accurate.

       b. There was no evidence of "seizures" whatsoever during the 48 hour test, only

           a Doctor's subjective statement of a single "seizure-like movement" during

           insertion of a catheter.

       c. Clingenpeel's matter-of-fact accusations of abuse are false, as that statement

           is not supported by the evidence herein. The fact that Clingenpeel based

           abuse (Keep in mind she did not consult Ophthalmology, the attending

           Ophthalmologist, Dr. Rook, even stated that she could not understand why

           Dr. Clingenpeel made abuse findings without first consulting Ophthalmology

           Dept) upon diagnoses of retinal hemorrhages and seizures that are not

           supported by the record.




                                      Page 5of10
       Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 18 of 22




        19. The probable cause hearing occurred 11 days later on 8-26-15. This was a denial of

              Due Process.

        20. In an attempt to gain an advantage in the civil proceedings Plaintiff was subsequently

              charged with a crime, resulting in stigmatization in the community being faced with

              charges that carried a potential life sentence.

        21. The charges were later Nolle Pressed.

        22. Plaintiff demanded a name clearing hearing and submitted a FOIA request, attached

              as Exhibit "A."

        23. ACH denied both requests.

                                                       COUNT I

        24. Plaintiff realleges the foregoing as if fully set out herein.

        25.        As matter of official policy or custom, Defendant routinely seizes American

citizen's children and holds them for more than 72 hours without making sure the Court is

notified.

        26.        Hundreds of citizens and their children have been subjected to this practice

within the past three years. Due process requires a prompt post-deprivation hearing. Swipies

v. Kofka, 419 F.3d 709, 2005 U.S. App. LEXIS 16861

        27.        Despite warning, Defendant's employer refuses to ensure that American citizens

receive a prompt judicial appearance, in effect creating a Star Chamber.

        28.        Defendant is responsible for insuring citizens like Plaintiff receive a prompt

judicial appearance, after their children are seized.

        29.        However, the policy, custom, and training of ACH, allows Defendant to do exactly

what happened in this case.

        30.        A timely hearing would have prevented the extended infringement on their

familial rights.

        31.        Plaintiff did not receive a timely hearing.


                                                Page 6of10
      Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 19 of 22




       32.     Plaintiff is guaranteed due process of law pursuant to the Fourteenth Amendment

to the United States Constitution. The Fourteenth Amendment provides, in relevant part, "nor

shall any State deprive any person of life, liberty, or property, without due process of law." U.S.

Const. amend. XIV, sec. 1. Plaintiff brings claims for violations of both substantive and

procedural due process.

       33.     Substantive due process rights are those rights which are "fundamental" under

the Constitution. The United States Supreme Court has recognized a ''fundamental liberty

interest of natural parents in the care, custody, and management of their child" protected by the

Fourteenth Amendment. Miller v. City of Philadelphia, 174 F.3d 368, 374 (3d Cir. 1999)(quoting

Santosky v. Kramer, 455 U.S. 745, 753, 102 S.Ct. 1388, 1394-1395, 71 L.Ed.2d 599, 606

(1982)).

       34.     ''The touchstone of due process is the protection of the individual against

arbitrary action of government." Miller, 174 F.3d at 374 (internal quotations omitted). To incur

liability, the objective character of the government action must be so egregious that it "shocks

the conscience". Miller, 174 F.3d at 375.

       35.     Specifically, the Third Circuit has held that child welfare workers abridge an

individual's substantive due process rights where their actions "exceed both negligence and

deliberate indifference, and reach a level of gross negligence or arbitrariness that indeed

'shocks the conscience."' Miller, 174 F.3d at 375-376. The Third Circuit, in explaining Miller, held

that in order for a child welfare worker to be liable for removing a child from his parents upon

suspicions of abuse, the worker must have "consciously disregarded a great risk that there had

been no abuse." Ziccardi v. City of Philadelphia, 288 F.3d 57, 66 (3d Cir. 2002).             Here,

Defendant consciously disregarded a great risk that there had been no abuse.

       36.     To state a Section 1983 claim for deprivation of procedural due process, plaintiff

must allege that: (1) they were deprived of an individual interest that is encompassed within the

Fourteenth Amendment's protection of life, liberty or property; and (2) the procedures available


                                            Page 7of10
      Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 20 of 22




did not provide due process of law. To state a Section 1983 claim for deprivation of procedural

due process, plaintiffs must allege that: (1) they were deprived of an individual interest that is

encompassed within the Fourteenth Amendment's protection of life, liberty or property; and (2)

the procedures available did not provide due process of law. Alvin v. Suzuki, 227 F.3d 107, 116

(3d Cir. 2000). Regarding the first requirement, as discussed above, parents have a

constitutionally cognizable liberty interest in the care, custody, and management of their

children. Miller, 174 F.3d at 374.       Regarding the procedures available, "the fundamental

requirement of due process is the opportunity to be heard at a meaningful time and in a

meaningful manner." !st at 373 (internal quotations omitted).

       37.      Regarding the first requirement,       as discussed above,         parents have a

constitutionally cognizable liberty interest in the care, custody, and management of their

children. Miller, 174 F.3d at 374. Regarding the procedures available, "the fundamental

requirement of due process is the opportunity to be heard at a meaningful time and in a

meaningful manner."    !st   at 373 (internal quotations omitted).     Plaintiff has been denied the

opportunity to be heard at a meaningful time and in a meaningful manner, and there is no

adequate remedy at law because the state statutes are unconstitutional to the extent they allow

more than 72 hours for a post-deprivation hearing.

       38.      Defendant in her official capacity had a duty to ensure that Plaintiff received a

prompt post-deprivation hearing within 3 days.       But she failed.     It was within her power to

provide Plaintiff a prompt post-deprivation hearing, but she failed.

       39. ACH is a state actor by virtue of its status as the County Hospital and its invocation

             of Title 18 of Ark. Code Ann. § 12-18-101 et seq. cited as "The Arkansas Child

             Maltreatment Act," as recognized in Lugar and its progeny.

       40. ACH, acting according its policy and practice, seized Plaintiff's children and deprived

             her of custody, then failed to provide her post-deprivation process required by both

             the US and Arkansas Constitutions.


                                            Page 8of10
       Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 21 of 22




       41. Plaintiff also had a vested property right in her reputation. However, ACH caused

             negative and false information to be published in the media. This misinformation

             stigmatized the Plaintiff in the community sufficient to invoke her right to a name

             clearing hearing.

       42. Plaintiff demanded a name-clearing hearing.

       43.      As a result of the deprivation of. Plaintiff's state and federal constitutional rights,

Plaintiff and her family have experienced severe mental and emotional distress such that

Plaintiff pleads for appropriate compensatory and punitive damages against Defendant in her

individual capacity.

                                                   COUNT II

       44. Plaintiff submitted an FOIA to ACH, but ACH refused the request.

       45. Plaintiff is entitled to Declaratory Judgment that ACH is the county hospital and

             subject to the FOIA, as well as establishing that ACH has violated the FOIA.

                                                   COUNT Ill

       46. Plaintiff realleges paragraphs 1-21 as if fully set out herein.

       47. ACH caused a criminal proceeding to be filed against the Plaintiff without probable

             cause in order to generate money. This is an improper purpose. Doctors for the

             "Team for Children At Risk" are ordering medical testing on infants and children to

             procure evidence for prosecutions of the criminal code, and of the maltreatment act,

             rather than treating the children. In the case at bar, the "Life threatening injuries"

             required no medical treatment at all, yet the child underwent 1OO's of xrays and other

             imaging including being injected with radioactive materials for contrast. The child

             underwent no surgery, therapy, or any other treatment for injuries. She was taken

             from her parents and discharged to a foster family.




                                              Page 9of10
       Case 4:17-cv-00668-JLH Document 1 Filed 10/13/17 Page 22 of 22




        48. Interestingly, the child's third foster family took the her to the ER at childrens with

              exactly the same symptoms in November of 2015 as when the Parents first brought

              her in August of 2015, yet when the foster parents brought her in, not a single image,

              or x-ray, or CT scan or MRI or ANY OTHER test was performed on the child in

              November, despite the exact same symptoms.

        49. As a result, ACH has committed the tort of abuse of process and malicious

              prosecution.

        50.      As a result of the frivolous filing of criminal charges, Plaintiff and her family have

experienced severe mental and emotional distress such that Plaintiff pleads for appropriate

compensatory and punitive damages against Defendant in her individual capacity.

        WHEREFORE Plaintiff prays for an Order certifying the class described above, for

appropriate compensatory and punitive damages exceeding one million dollars, for a trial by

jury, for reasonable attorney's fees, for costs, and for all other proper relief.

                                                        Respectfully submitted,

                                                        SUTTER & GILLHAM, P.L.L.C.
                                                        Attorneys at Law
                                                        P.O. Box 2012
                                                        Benton, AR 72018
                                                        501-315-1910 Office
                                                        501-315-1916 Facsimile
                                                        Attorney for the Plaintiff


                                                By:     1~6nea/Sutter
                                                        Luther Oneal Sutter, AR Bar No. 95031
                                                        luthersutter@yahoo.com




                                             Page IO of 10
